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CERTIFICATION OF NAMED PLAINTIFF
PURSUANT TO FEDERAL SECURITIES LAWS

LABORERS PENSION TRUST FUND FOR NORTHER.N N'EVADA
(“Plaintift”) declares:

l. Plaintift` has reviewed a complaint and authorized its filing

2. Plaintift` did not acquire the security that is the subject of this action at the
direction of plaintiff’s counsel or in order to participate in this private action or any
other litigation under the federal securities laws.

3. Plaintiff is willing to serve as a representative party on behalf of the
class, including providing testimony at deposition and trial, if necessary.

4. Plaintii`t`lias made the following transaction(s) during the Class Period in

the securities that are the subject of this action:

Security Transaction Date Price Per Share

See attached Schedule A.

5. Plaintiff` has not SOL:ght to serve or served as a representative party in a
class action that was filed under the federal securities laws Within the three-year

period prior to the date of this Certi'fication except as detailed below;

6. The Plaintift` Will not accept any payment for serving as a representative

party on behalf of the class beyond tile Plaintiff’s pro rata share of any recovery,

S.»’\N lJ |?.ll`JUli

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except such reasonable costs and expenses (including lost Wages) directly relating to
the representation of the class as ordered or approved by the court.
I declare under penalty of perjury that the foregoing is true and correct.

Executed this lien day of Feb ,2013.

LABORERS PENSION TRUST FUND
FOR NORTHERN NEVADA

By % 9 WM%

60 Cl\iir`
Its: MM/V
C/lmil/` /

SANDRIDG|;`

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SCHEDULE A
SECUR|TIES TRANSACT[ONS
Acquisitions
Date TypelAmount of
Acguired Securities Acguired
02!28/20‘11 ‘| 1960
03/03/20'|1 4,324
08/04/2011 4,241

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$'10.79
$10.65
$1[).38

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CERTIFICATION OF NAMED PLAINTIFF
PURSUANT TO FEDERAL SECURITIES LAWS

CONSTRUCTION LABORERS PENSION TRUST OF GREATER ST.
LOUIS (“Plaintift") declares:

l. Plaintiff has reviewed a complaint and authorized its filing

2. Plaintiff did not acquire the security that is the subject of this action at the
direction of plaintiffs counsel or in order to participate in this private action or any
other litigation under the federal securities laws.

3. Plaintiff is Willing to serve as a representative party on behalf of the
class, including providing testimony at deposition and trial, if necessary

4. Piaintiff has made the following transaction(s) during the Class Period in

the securities that are the subject of this action:

Security Transaction Date Price Per Share

See attached Schedule A.

5. Plaintiff has not sought to serve or served as a representative party in a
class action that Was filed under the federal securities laws within the three-year
period prior to the date of this Certiiication except as detailed beiow:

fn re Compuier Scr'ences Corp. Sec. Lit:'g., No. l:ll-cv-610 (E.D. Va.)
fn re G)'ot.y)on, fnc. Sec. Lr'!i'g., No. 1243-2450 (N.D. lll.)

6. The Piaintiff will not accept any payment for serving as a representative

party on behalf of the class beyond the Plaintiff"s pro rata share of any recovery,

SANDR{DGE

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except such reasonable costs and expenses (including lost wages) directly relating to
the representation of the class as ordered or approved by the court.

I declare under penalty of perjury that the foregoing is true and correctl
Executed this _3_\_: day of J anuaiy, 2013.

CONSTRUCTION LABORERS PENSION
TRUST OF GREATER ST. LOUIS

By: %M.;_/) doom/z

Kevin J. scheii,“AHminiarai\/e
Manager

SANDIUDGF.

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SCHEDULE A
SECUR|T|ES TRANSACT|ONS
Acquisitions
Date Type!Amount of
Acguired Securities Acguired Price
07/13/2011 27.000 $10_33
08/08/2012 30,000 36.65
08/13/2012 14,000 $6.55
08!15!2012 15.000 $6.44
0811612012 ?,500 $6.52
08!1 712012 7,500 $6.49
Sales
Date TypeIAmount of
Sold Securitias Soid Price
03/291201‘| 25.000 $12.06
12/22!2011 10.000 $8.22

"Opening position of 188,000 shares

` 1
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CERTIFICATION OF NAMED _PLAINTIFF
l URSUAN'I` TO PEDERAL SECURI'HES LAWS
vLAntMIR linn meatch GALI<m _(_“Piainarr’) decrease
l. Plaintiff has reviewed a complaint and authorized its filing
2. v Piaintiff did not acquire the security that is the subject of this action at the direction of

plaintist counsel or in order to participate in this private action or any other litigation under the
federal securities laws

3. _ Plaintift`is willing to serve as a representative party on behalfot“ the cias's, including
providing testimony at deposition and triai, i‘t` necessary
4. Plaintiff has made the following transaction(s) during the Class Pe.rio.d in the
securities that are the suhj ect ofthis action: .
Secg;i;y Transactipg Date- Price Per Share
see attached schedule A.
5. Plaintit`i`has not sought to serve or served as la representative party in a class action

that was filed under the federal securities laws within the three~year period prior to the date of this
Certification except srs-detailed below: '
None.

6. 'I“he Plaintiff will not accept any payment for serving as a representative party on
behal f of the class beyond the Plaintift" s pro rata share of any recovery, except such reasonable costs
and expenses (including lost wages) directly relating to the representation of the class as ordered or
approved by the court
I declare under penaltyor`per_jury that the foregoing is true'a c rr t. Executed this _L;l'_
day ofFebruai'y, 20.13.

    
  

 

 

A`NGELIA GALKIN

 

SANDRIDGE

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SCHEDULE A

SECUR|TIES TRANSACT|ONS

Acquisiticms

Date TypeIAmount of

Acguired Securities Acgulred Price
06/30/201 1 1 ,804 $10_57
06130/2011 _ 100,000 31 O. 70
07/01/2011 ' 15.000 $10.49
07/20/2011 9,393 $11.33
07/21/2011 10.000 S11.1O
08/05/201 1 1 00 $6_95`
08/05/2011 250 $7.28
08/05/2011 2,600 $7.15
08/05/2011 4, 100 57. 13
08/05/2011 5,000 $7.30
08/05/201 1 5,1 00 57.49
08/05/201 1 5,_200 S7_76
08/05/201 1 8,800 $7. 14
08/05/2011 1 0,000 ' $7.25
08/05/201 1 14,800 $7.77
08/05/201 1 19.800 37.66
06/05/201 `1 24,650 37.28
08/05/201 1 3’1,400 $7.16
10/20/201 1 475 $6.56
10/28/2011 10.000 $8. 18
12106/2011 3_335 87.75.
12/06/201 1 7,000 S7.79
12/07/201 1 v 10,000 37.63
01/20/2012 1 ,000 $7.64
01120/20'1 2 5, 000 57153
01/20/2012 . 5.000 $7.54
01/20/2012 9.000 $7.54
01/20f2012 . 10, 000 37. 54
02/02/2012 15 . 36.82
02/02/20_12 100 $6.83
02/02/2012 100 $6.83
02/02/2012 10_0 36.83
02102/2012 100 36.83
02/02/2012 ' . 200 $6.82
02/02/2012 200 36.83
02/02/2012 300 $6.83
02/02/2012 500 ' 36.83
02/02/2012 500 36.83
02/0_2/2012 1 ,600 86.89
02/02/2012 7__331 $6.63
02102/_2012 12.885 $6.83
02/02/2012 1 5,000 $6_81

02/02/2012 17,669 86.88

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Date Type/Amount of

Acguired . Securities Acgulred Price
02/02/2012 18,400 $6.87
02/02/2012 20,000 86.79
02/21/2012 5,000 $8. 1 9
02/27/2012 t 5.000 $8.74
02/28/2012 t 5,000 $8.75
02/29/2012 3,000 88.62
02/29/2012 5,000 58.75
03101/2012 3,500 l$8.52
03/01/2012 13,500 $8_52
03/02/2012 2,000 38.05
v0.'3/02)'2012 5.000 S8.30
03/05/201 2 400 $7.86
03/05/2012 600 S“/'.B`S
03/05/2012 800 $7.86
03105/2012 5,000 $7,84
03105/2012 6,200 37.86
03/05/201 2 7,777 $7.86
03112/2012 2,223 $7_95
03/28/2012 3.333 $7_77
03/28/2012 5,000 s?.??
04/13/2012 » 2.222 37.3_7
04/19/2012 7.777 87.19
04/25/2012 1,128 37_23
04/25/2012 3.333 $7.41
04/25/2012 3,333 $7.25
,04125/2012 5.,000 $7.23
04/25/2012 6,61_6 37.18
04/25/2012 7,223 57.28
04125/2012 10,000 $7.25
04125!2012 42,256 $7.23
05/01/2012 . 3,333 $8. 10
05101/2012 3‘333 37.95
05/01/2012 3.334 $7.97
05/03/201 2 200 $7.31
05/03/2012 3, 300 $7. 31
05/03/2012 4,100 $7.36
05/03/2012 5.000 $6.90
05103/2012 8'-,000 S6.94
05/03/2012 12,000 $6.94
05/03/2012 20,000 $7.25
05/03/2012 ~ 25,000 $7_34
05/03/2012 25,734 37.36
05104/2012 ' 200 37.06
05/04/2012 200 $6.97
05/0-4!2012 500 $6_97
05/041201 2 4,115 $7.16
05/04/2012 11.985 $6`97
0$/04/201 2 14,595 37.06

05104/2012 33,200 ` 37,16

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Date TypeIAmount of
Acguired Securities Acguired Price
' 05/04/2012 50.41‘/' $7,13
05/17/2012 6,205 $6.10
06119/2012 15.000 $6.68
07/02/20 12 ` 1 1,1 12 $6_42
07/18/2012 4.000 56470
09/07/2012 18.404 36.99
09/12/2012 6_.404 57.18
09/12/2012 10,000 $7_16
10102/2012 30,822 $7.00
10/17/2012 5,050 $7.45
1011 8/2012 10,000 37.26
10/18/2012 20,000 57.35
1011 9/2012 15.000 37.29
Sa{e$
.Date TypelAmount of
§§qu Securities Sold Price
07/15/2011 16,804 $11.12
07/18/2011 19.393 $11.22
08/02/201 1 1,900 31 1.63
08/02/2011 2,900 311.63
08/02/201 1 25,000 31 1.63
08/1 112011 200 $7.56
08/11/2011 21,100 37.55
08/1 912011 3.000 36.71
08/19/2011 5,700 $6.72
08/19/201 1 15,600 $6. 73
08/19/2011 v 21,200 $6_70
09/16/2011 300 $7.49
09/26/2`01 1 10,727` Se.1 1
10/1 212011 - 648 $6_69
11/17/2011 2335 37.16
12/16/2011 315 $6.70
~12/.16/2011 14,600 $6.70
1 2130/201 1 100 58.28
12130/201 1 4_300 $8`30
12/30'/201 1 5,085 . 38.31
. 12/30/201 1 25,600 S8.27
02/01/2012 5.000 $7. 86
03/23/2012 10.000 $8,13
04105/2012 8,333 57.97 y
04/1 912012 82,222 $7.25
05/04/2012 417 57_03
05116/2012 100 56.32
05/16/2012 800 $6.31

came/2012 _ 5,800 $6.32

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Date TypelAmount of

§_QM $ecurities Sold Price
05/16/2012 31 ,700 $6_30
05116/2012 47,600 $6.28
06/27/2012 11_,112 S6.24
07/13/2012 4,000 S6.34
07/26/2012 5,598 $6.49
08/06/2012 6,031 $6.65
08122/201 2 4,668 36.56
08»'31/2012 2, 107 $6.56
09/1 1/2012 1,200 57.19
09/11/2012 25,204 $7.18
09119/2012 . 100 $7‘31
09/19/2012 5,335 37.29
09/19/2012 11.936 57.30
09/27/2012 ` 3,501 $8`96
11/06/2012 23,231 $6.24

11/06/2012 ` 25.305 $6.25

